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 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    PORSHIA JONES,              ) Case No. 2:13-cv-05525 MWF (CWx)
                                  )
12                 Plaintiff,     ) Hon. Michael W. Fitzgerald
                                  )
13    v.                          )
                                  ) ORDER OF DISMISSAL WITH
14
      CORELOGIC CREDCO, LLC, DOES ) PREJUDICE OF DEFENDANT SKY
      2-10 inclusive, GLOBAL      ) RECOVERY SERVICES, ONLY
15                                )
      MOTORCARS OF HOUSTON,
      TRANSUNION, LLC, EXPERIAN   )
16
      INFORMATION SOLUTIONS, INC. )
      and SKY RECOVERY SERVICES,  )
17                                )
                   Defendants.    )
18                                )
                                  )
19                                )
                                  )
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                                  )
21                                )_
22
23          Plaintiff Poshia Jones has announced to the Court that all matters in
24    controversy against Defendant Sky Recovery Services (“SKY”), only, have been
25    resolved.
26          A Stipulation of Dismissal with Prejudice has been signed and filed with the
27    Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
28    makes and delivers the following ruling:
                                                     1
                         ORDER re: Stipulation of Dismissal With Prejudice of SKY
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 1          IT IS ORDERED that the claims and causes of action asserted herein by

 2    Plaintiff Porshia Jones against Defendant SKY, only, are in all respects dismissed
 3    with prejudice.
 4
 5    DATED this 22nd day of July 2014.
 6
 7
 8                                               __________________________
 9                                               MICHAEL W. FITZGERALD
10                                               UNITED STATES DISTRICT JUDGE
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                                                      2
                          ORDER re: Stipulation of Dismissal With Prejudice of SKY
